            Case 1:21-cr-00028-APM Document 858 Filed 02/04/23 Page 1 of 2




IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

                                            Dun &Bradstreet No. 611934746

UNITED STATES OF AMERICA                                   )
(Delaware File #2193946, Dun & Bradstreet No. 052714196)   )
          v.                                               )     CASE NO. 21-CR-028 (APM)
                                                           )
                                                           )
:james beeks:,                                             )
   Accused

                                                NOTICE OF FILING

          COMES NOW, Accused, James-Delisco:Beeks, a man, by special

appearance presenting his own action, and requires this Court to accept as filed this

Citizenship Evidence Asservation attached as exhibit A.

.


                                                           Respectfully Submitted



                                                           ____/s/_James-Delisco:Beeks___
                                                           James-Delisco:Beeks ©
                                                           Sui Juris Capacity




                                                           Filed by: Nicole Cubbage


                                                           ________/s/_Nicole Cubbage________
                                                           Nicole Cubbage
                                                           DC Bar No. 999203
                                                           712 H. Street N.E., Unit 570
       Case 1:21-cr-00028-APM Document 858 Filed 02/04/23 Page 2 of 2




                                    Washington, D.C. 20002
                                    703-209-4546
                                    cubbagelaw@gmail.com
                                    Standby Attorney for James Beeks




                            Certificate of Service
I certify that a copy of the forgoing was filed electronically for all parties
                of record on this 4th day of February, 2023.
                        ____/s/___Nicole Cubbage____
                               Nicole Cubbage
                     Standby Attorney for James Beeks
